                  Case 5:97-cr-00003-WTM-BWC Document 2214 Filed 02/05/19 Page 1 of 1
AO 247(Rev. 11/! 1) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)           Page !of2(Page 2 Not for Public Disclosure)


                                          United States District Court
                                                                        for the

                                                         Southern      District of         Georgia
                                                                Waycross Division
                        United States of America
                                     V.                                    )
                                                                           ) Case No: 5:97-cr^000^22
                              Ricky Mitchell                               )
                                                                           ) USMNo: 22323-018
Date of Original Judgment:                          December 16, I W7_
Date of Previous Amended Judgment: November4, 2016                          ^ Earl Damd Sniitl^Jr.
(Use Date ofLasi Amended Jiicigmeni ifAny)                                      Defendant's Attorney


                       ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                             PURSUANT TO 18 U.S.C.§ 3582(c)(2)

           Upon motion of S the defendant □ the Director of the Bureau of Prisons D the court under i 8 U.S.C.
§ 3582(c)(2) for a reduction in the tenn of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §131.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           D DENIED.             E GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                        360                 months is reduced to            _     Time served plus 10 days            .
                                                (Complete Parts I and II of Page 2 when motion is granted)
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Except as otherwise provided, a!) provisions of thejudgment dated                       December 16,1997, shall remain in effect.
IT IS SO ORDERED.


Order Date:                 February 5, 2019
                                                                                                         Judge's si^ipfure

                                                                      William T. Moore, Jr.
 Effective Date:                                                      Judge, U.S. District Court
                        (if different from order date)                                                 Printed name and title
